               Case 23-11069-CTG        Doc 945     Filed 10/25/23     Page 1 of 7




                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

____________________________________
                                    :
In re:                              : Chapter 11
                                    :
YELLOW CORPORATION, et al.,         : Case No.: 23-11069(CTG)
                                    : (Jointly Administered)
                  Debtors.          :
                                    : Objection Deadline: October 25, 2023 @5:00 p.m.
                                    :
____________________________________:

     LIMITED OBJECTION AND RESERVATION OF RIGHTS OF NATIONS
  FUND I, LLC TO DEBTORS’ AMENDED NOTICE OF POTENTIAL ASSUMPTION
           AND ASSIGNMENT OF CERTAIN CONTRACTS OR LEASES
                  ASSOCIATED WITH THE ROLLING STOCK

         Nations Fund I, LLC (“Nations Fund”), by and through its undersigned counsel, hereby

submits this limited objection and reservation of rights (the “Objection”) to the Amended Notice

of Potential Assumption or Assumption and Assignment of Certain Contracts or Leases Associated

with the Rolling Stock dated as of October 12, 2023 [ECF 824] (the “Cure Notice”). In support of

this Objection, Nations Fund respectfully represents to the Court as follows:

                                       BACKGROUND

    A. Nations Fund’s Leases

         1.    On or about March 16, 2012, Nations Fund and USF Holland, LLC (“USF

Holland”) entered into that certain Master Lease Agreement (the “Master Lease Agreement”

together with the Schedules (defined below) and all other documents executed in connection with

the transactions, including but not limited to the amendments described below, the “Lease

Documents”), pursuant to which Nations Fund agreed to lease certain trailers to USF Holland.

         2.    Also on March 16, 2012, Yellow Corporation f/k/a YRC Worldwide, Inc. executed

that certain Master Lease Guaranty (the “Guaranty”) in favor of Nations Fund pursuant to which



123794351-2
              Case 23-11069-CTG        Doc 945     Filed 10/25/23    Page 2 of 7




it guaranteed all of the obligations of USF Holland under the Master Lease Agreement.

         3.   Prior to the Petition Date and in accordance with the Master Lease Agreement, USF

Holland executed and delivered in favor of Nations Fund, (a) Equipment Schedule No. UHL-0007

to the Master Lease Agreement, dated January 31, 2018, for approximately twenty (20) Stoughton

53’ trailers together with Rider No.1, Rider No. 2 and Rider No. 3 (“Schedule 0007”);

(b) Equipment Schedule No. UHL-0008 to the Master Lease Agreement, dated January 31, 2018,

for approximately sixty (60) Stoughton 48’ trailers together with Rider No.1, Rider No. 2 and

Rider No. 3 (“Schedule 0008”); (c) Equipment Schedule No. UHL-0009 to the Master Lease

Agreement, dated February 28, 2018, for approximately ten (10) Stoughton 53’ trailers together

with Rider No.1, Rider No. 2 and Rider No. 3 (“Schedule 0009”); and (d) Equipment Schedule

No. UHL-0010 to the Master Lease Agreement, dated February 28, 2018, for approximately

seventy (70) Stoughton 48’ trailers together with Rider No.1, Rider No. 2 and Rider No. 3

(“Schedule 0010”); (Schedule 0007, Schedule 0008, Schedule 0009 together with Schedule 0010,

collectively, the “Equipment Schedules”).

         4.   On May 1, 2020, USF Holland and Nations Fund entered into separate amendments

with respect to each of the Equipment Schedules (the “Amendments”).

         5.   On or about January 24, 2023, Nations Fund, USF Holland, and Yellow entered

into that certain Omnibus Amendment of Equipment Schedules and Rider No. 1 (the “Amendment

Agreement”) pursuant to which the lease term was extended through February 1, 2024 and

amending the monthly rent amount and stipulated loss values for each of the Equipment Schedules.

         6.   On or about April 26, 2023, Nations Fund, USF Holland, and Yellow entered into

that certain Second Omnibus Amendment of Equipment Schedules and Rider No. 1 (the “Second

Amendment Agreement”) pursuant to which the lease term was extended through February 1, 2025


                                               2

123794351-2
               Case 23-11069-CTG        Doc 945     Filed 10/25/23       Page 3 of 7




and amending the monthly rent amount and stipulated loss values for each of the Equipment

Schedules.

         7.    The Debtors defaulted pre-petition on their obligations under the Lease Documents

by, inter alia, failing to make the rent payments due in August, 2023.

         8.    The Debtors have not made any lease payments to Nations Fund since the Petition

Date, and, as such, Nations Fund is owed, among other things, the monthly rent payments for

September and October, 2023.

         9.    The Debtors failure to pay amounts due under the Lease Documents is a breach of

the Master Lease Agreement.

         10.   The total amount presently due and owing Nations Fund under the Lease

Documents solely with respect to unpaid monthly rent obligations is not less than $186,316.00.

    B. The Bankruptcy Case and Proposed Assumption or Assumption and Assignment of
       Leases


         11.   On August 6, 2023 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”).

These chapter 11 cases have been consolidated for procedural purposes only and are being jointly

administered pursuant to Bankruptcy Rule 1015(b).

         12.   Debtors are managing their businesses and their properties as debtors-in-possession

pursuant to Section 1107(a) and 1108 of the Bankruptcy Code. On August 16, 2023, the United

States Trustee for the District of Delaware appointed an Official Committee of Unsecured

Creditors. No trustee or examiner has been appointed in these Chapter 11 cases.

         13.   On August 7, 2023, the Debtors filed their Motion of the Debtors for Entry of an

Order (I)(a) Approving the Bidding Procedures For the Sale or Sales of the Debtors’ Assets, (B)


                                                3

123794351-2
               Case 23-11069-CTG         Doc 945     Filed 10/25/23     Page 4 of 7




Scheduling Auctions and Approving the Form and Manner of Notice Thereof; (C) Scheduling Sale

Hearings and Approving the Form and Manner of Notice Thereof; (II)(A) Approving the Sale of

the Debtors’ Assets Free and clear of Liens, Claims, Interests and Encumbrances and (B)

Approving the Assumption and Assignment of Executory Contracts and Unexpired Leases; and

(III) Granting Related Relief (the “Bidding Procedures Motion”) [ECF 22]. Pursuant to the

Bidding Procedures Motion, the Debtors sought an order, among other things, approving certain

bidding procedures in connection with the sale or sales of substantially all of the Debtors’ assets,

and authorizing procedures to facilitate the assumption and assignment of certain executory

contracts and unexpired leases of the Debtors (the “Assumption and Assignment Procedures”).

         14.   On September 15, 2023, the Bankruptcy Court entered that certain order (the “Bid

Procedures Order”) granting the Bidding Procedures Motion [ECF 575].

         15.   On October 11, 2023, the Debtors filed the Notice of Potential Assumption or

Assumption and Assignment of Certain Contracts or Leases Associated with the Rolling Stock

(the “Rolling Stock Cure Notice”) [ECF 819] which identifies on Schedule I each executory

contract or unexpired lease that may be assumed by the Debtors and the proposed cure amount

with respect to each executory contract or unexpired lease.

         16.   The Debtors included the four (4) Equipment Schedules (i.e., leases) with Nations

Fund covering all 160 Stoughton trailers on Schedule I.

         17.   On October 12, 2023, the Debtors filed the Amended Notice of Potential

Assumption or Assumption and Assignment of Certain Contracts or Leases Associated with the

Rolling Stock (the “Amended Rolling Stock Cure Notice”) [ECF 824] that similarly includes the

four (4) leases between USF Holland and Nations Fund.




                                                 4

123794351-2
               Case 23-11069-CTG         Doc 945     Filed 10/25/23      Page 5 of 7




         18.    Pursuant to the Amended Rolling Stock Cure Notice, the Debtors propose to cure

 their obligations under the Nations Fund leases by paying the rent due through October 1, 2023.

                                      LIMITED OBJECTION

A.       All Defaults Must be Cured and Adequate Assurance Must be Given

         19.   Under section 365(b)(1)(A) of the Bankruptcy Code, if there has been a default

under an executory contract, a debtor-in-possession may not assume such contract unless, at the

time of assumption, the debtor cures or provides adequate assurance that it will promptly cure such

default. See 11 U.S.C. § 365(b)(1)(A).

         20.   Pursuant to 11 U.S.C. §365, the cure amount must include all amounts necessary to

cure any arrearage under the lease to be assumed. See In re Handy Andy Home Improvement

Centers, Inc., 196 B.R. 87, 93 (Bankr. N.D. Ill. 1996) (debtor must cure pre- and post-petition

defaults prior to assumption).

         21.   Nations Fund objects to the proposed cure amount because while the proposed cure

amount represents unpaid rent from August, 2023 through October, 2023, the Debtors’ post-

petition rent obligations will continue to accrue until such time as the Debtors assume or reject the

leases with Nations Fund. In light of the Debtors recently filed Notice of Cancellation of Rolling

Stock Bid Deadline and Rolling Stock Auction [ECF 857] as well as the Motion of Debtors for

Entry of an Order (I) Approving Agency Agreement with Nations Capital, LLC, Ritchie Bros.

Auctioneers (America) Inc., Ironplanet, Inc., Ritchie Bros. Auctioneers (Canada) Ltd., and

Ironplanet Canada Ltd. Effective as of October 16, 2023; (II) Authorizing the Sale of Rolling Stock

Assets Free and Clear of Liens, Claims, Interest, and Encumbrances; and (III) Granting Related

Relief [ECF 852] filed on October 16, 2023, it is unclear when the Debtors may move to assume

or reject the Nations’ Fund leases.


                                                 5

123794351-2
               Case 23-11069-CTG         Doc 945     Filed 10/25/23     Page 6 of 7




         22.    Moreover, Nations Fund is entitled to the recovery of attorneys’ fees, late fees and

interest as part of the cure pursuant to the terms of the Master Lease Agreement and Section

365(b)(1) of the Bankruptcy Code. See generally In re Appleillinois, L.L.C., No. 13-20723, 2014

WL 294327 (Bankr. E.D. Ky. Jan. 24, 2014); In re Senior Care Centers, LLC, 607 B.R. 580

(Bankr. N.D. Tex. Oct. 4, 2019); and In re Williams, No. 10-11108 BLS, 2011 WL 2533046

(Bankr. D. Del. June 24, 2011).

         23.   In addition, given, among other things, the recent payment issues, Nations Fund

will require adequate assurance of future performance.

                                  RESERVATION OF RIGHTS

         24.   Nations Fund expressly reserves all of its rights under the Master Lease Agreement,

the Bankruptcy Code, or applicable law, including, without limitation, the right to (a) supplement

or amend this Limited Objection and to assert any additional issues with respect to any proposed

assumption and assignment of the Master Lease Agreement on any and all grounds; (b) assert any

and all additional issues in connection with any proposed cure amount for the Master Lease

Agreement; and (c) assert any additional objections to the assumption and assignment of the

Master Lease Agreement.

         WHEREFORE, Nations Fund I, LLC respectfully requests that this Court enter an Order

denying the Debtors’ proposed assumption of the Master Lease Agreement, requiring the Debtors

to pay all amounts due under the Master Lease Agreement and provide adequate assurance of

future performance by the reorganized debtors or any assignee, and affording such further relief

as it deems appropriate.

Dated: October 25, 2023

                                              By: /s/ Martin J. Weis
                                              Martin J. Weis (No. 4333)

                                                 6

123794351-2
              Case 23-11069-CTG   Doc 945    Filed 10/25/23   Page 7 of 7




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                                        7

123794351-2
